Case 2:21-cv-08830-MCS-KES Document 19 Filed 01/19/22 Page 1 of 1 Page ID #:103

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  AFSHIN SHAHIDI                                                      2:21−cv−08830−MCS−KES
                                                   Plaintiff(s),

           v.
  LIVEONE, INC., et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).        ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         1/18/2022
  Document Number(s):                 17
  Title of Document(s):              RE Answer by LiveOne, Inc., LiveXLive, Corp., Slacker, Inc.
  ERROR(S) WITH DOCUMENT:

  Local Rule 7.1−1 No Notice of Interested Parties and/or no copies.




  Other:

  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                        Clerk, U.S. District Court

  Dated: January 19, 2022                               By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                           Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.



   G−112A(05/19) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
